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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

MCCOMB CHILDREN’S CLINIC, LTD.,
a Mississippi Corporation                                                          PLAINTIFF

v.                                                 CIVIL ACTION NO.: 5:24-cv-48-LG-ASH

XAVIER BECERRA, in his official
capacity as Secretary of the United
States Department of Health and
Human Services; UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; MELANIE FONTES
RAINER, in her official capacity as
Director of the Office for Civil Rights
of the United States Department of
Health and Human Services; and
OFFICE FOR CIVIL RIGHTS OF THE
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES                                                      DEFENDANTS

                                NOTICE OF APPEARANCE

       James E. Graves, III, Assistant United States Attorney, hereby enters his appearance as

counsel for the Defendants.

Date: June 10, 2024
                                                              TODD W. GEE
                                                              United States Attorney for the
                                                              Southern District of Mississippi

                                                              s/ James E. Graves, III
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